Case 1:25-cv-11786 Document 1-1

CIVIL COVER SHEET

JS 44 (Rev. 10/20)

Filed 06/19/25

Page 1 of

1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORMAL)

I. (a) PLAINTIFFS DEFENDANTS

Securenet Systems Corporation

(b) County of Residence of First Listed Plaintiff Bristol
(EXCEPT IN US. PLAINTIFF CASES)

NOTE:
THE TRACT

(c) Attorneys (Firm Name, lddress, and Telephone Number) Attorneys (Uf Known)

Seth D. Miller, 100 Copeland Drive Suite 4, Mansfield,
MA 02048, 508-339-1155

County of Residence of First Listed Defendant

Pamela Bondi, Kristi Noem, Federal Bureau of Investigation

Suffolk

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

I]. BASIS OF JURISDICTION (Place an "4" in One Box Only)
(For Diversity Cases Only)
C] 1 US, Government

Plaintiff

CL 3 Federal Question

(U.S. Government Nota Party) Citizen of This State

O

[x] 2 U.S. Government
Defendant

(4 Diversity

(dicate Citizenship of Parties in Item HI)

L)

Citizen of Another State

O

Citizen or Subject of a
Foreign Country

PTF

and One Box for Defendant)

DEF

1 [i

Incorporated or P

rincipal Place

PTF

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DEF

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of Business In This State

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Incorporated avd Principal Place

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of Business In Another State

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LJ 3

Foreign Nation

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ILL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an °X~ in One Box for Plaintiff

IV. NATURE OF SUIT (Place an “x” in One Box Only)

Click here for: Nature of S

ut Code Descriptions.

FORFEITURE/PENALTY

110 Insurance PERSONAL INJURY
120 Marine 310 Airplane

PERSONAL INJURY
365 Personal Injury -

|] 625 Drug Related Seizure

| CONTRACT TORTS
- of Property 21 USC 881

422 Appeal 28 USC 158

BANKRUPTCY
- 423 Withdrawal

375 False Claims Act
376 Qui Tam (31 USC
3729%a))

400 State Reapportionment

OTHER STATUTES

410 Antitrust

130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157
140 Negotiable Instrument Liability O 367 Health Care | |
LJ 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS
& Enforcement of Judgment Slander Personal Injury 820 Copyrights
151 Medicare Act |_| 330 Federal Employers" Product Liability $30 Patent
152 Recovery of Defaulted Liability O 368 Asbestos Personal 835 Patent - Abbreviated
Student Loans 340 Marine Injury Product New Drug Application
(Excludes Veterans) 345 Marine Product Liability 840 Trademark
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets [7]
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016
O 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |
C] 190 Other Contract Product Liability L] 380 Other Personal |_| 720 Labor/Management SOCIAL SECURITY
193 Contract Product Liability 360 Other Personal Property Damage Relations 86] HIA (1395ff)
196 Franchise Injury CT 385 Property Damage 740 Railway Labor Act 862 Black Lung (923)

362 Personal Injury -

Medical Malpractice
CIVIL RIGHTS

|_| 440 Other Civil Rights

|_| 441 Voting
442 Employment

-| 443 Housing/
Accommodations

Product Liability +) Family and Medical
Leave Act
790 Other Labor Litigation
|_| 791 Employee Retirement

Income Security Act

REAL PROPERTY
210 Land Condemnation

PRISONER PETITIONS
Habeas Corpus:
[| 463 Alien Detainee
i | 310 Motions to Vacate
Sentence
30 General
3

220 Foreclosure
230 Rent Lease & Ejectinent
240 Torts to Land

245 Tort Product Liability 5
3

430 Banks and Banking
450 Commerce
460 Deportation
470 Racketeer Influenced and
Corrupt Organizations
480 Consumer Credit
(15 USC 1681 or 1692)
485 Telephone Consumer

Protection Act

864 SSID Title XVI
|] 865 RSI (405(g))

863 DIWC/DIWW (405(g)) |

490) Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

LI

FEDERAL TAX SUITS

895 Freedom of Information

|_| 870 Taxes (U.S. Plaimitf
or Defendant)
[| 871 IRS—Third Party

445 Amer. w Disabilities - IMMIGRATION

290 All Other Real Property 5 Death Penalty

26 USC 7609

Employment Other: 462 Naturalization Application
446 Amer. w Disabilities - 540 Mandamus & Other 465 Other Immigration
Other Civil Rights Actions

| | 448 Education Prison Condition
Civil Detainee -
Conditions of

Confinement

35

0
550
3
560

Act
896 Arbitration
X} 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|] 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “N" in One Box Only)

py! Onginal Ci? Removed from oO 3. Remanded from 4 Reinstated or C13 Transferred from Cc 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation -
(specify) Transfer

oO 8 Multidistrict
Litigation -
Direct File

05:0551

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:
Mandamus and violation of the administrative procedures act

VIL REQUESTED IN (] CHECK IF THIS IS A CLASS ACTION DEMAND §

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R-Cv.P. 4a JURY DEMAND: LlvYes No

VIII. RELATED CASE(S) 4
r (See instructions):
IF ANY JUDGE DOCKET NUMBER
eo
DATE SIGNATURE "fo EY OF RECORD
a f
FOR OFFICE USE ONLY = -
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

